           Case 05-61919-6-sdg                             Doc 1        Filed 03/22/05 Entered 03/22/05 14:30:06                                             Desc Main
(Official Form 1)(12/03)
                                                                       Document      Page 1 of 33
  FORM B1                                  UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF NEW YORK                                                                             Voluntary Petition
                                                    UTICA DIVISION
 Name of Debtor (if individual, enter Last, First Middle):                                       Name of Joint Debtor (Spouse) (if individual, enter Last, First Middle):
 Hankey, Karen L.
 All Other Names used by the Debtor in the last 6 years                                          All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




 Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than             Last four digits of Soc. Sec. No. / Complete EIN or other Tax I.D. No (if more than
 one, state all):                                                                                one, state all):
 xxx-xx-9270
 Street Address of Debtor (No. and Street, City, State and Zip Code):                            Street Address of Joint Debtor (No. and Street, City, State and Zip Code):
 1348 County Route 57
 Fulton, NY 13069


 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
 Oswego
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
 1348 County Route 57
 Fulton, NY 13069


 Location of Principal Assets of Business Debtor (if different from street address above):




                                            Information Regarding the Debtor (Check the Applicable Boxes)
 Venue       (Check any applicable box)
 þ     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
       preceding the date of this petition or for a longer part of such 180 days than in any other District.
 ¨     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                    Type of Debtor (Check all boxes that apply)                                        Chapter or Section of Bankruptcy Code Under Which
                                                                                                                the Petition is Filed (Check one box)
 þ     Individual(s)                                    ¨      Railroad
 ¨     Corporation                                      ¨      Stockbroker                       þ     Chapter 7            ¨ Chapter 11                ¨ Chapter 13
 ¨     Partnership                                      ¨      Commodity Broker                  ¨     Chapter 9            ¨     Chapter  12
 ¨     Other__________________________                  ¨      Clearing Bank                     ¨     Section 304 - Case ancillary to foreign proceeding

                       Nature of Debts (Check one box)                                                                     Filing Fee (Check one box)
 þ     Consumer/Non-Business                            ¨      Business                          þ     Full Filing Fee attached
         Chapter 11 Small Business (Check all boxes that apply)                                  ¨     Filing Fee to be paid in installments (Applicable to individuals only)
 ¨     Debtor is a small business as defined by 11 U.S.C. Sec. 101.                                    Must attach signed application for the court's consideration
 ¨     Debtor is & elects to be considered a small business under                                      certifying that the debtor is unable to pay fee except in installments.
       11 U.S.C. § 1121(e) (Optional)                                                                  Rule 1006(b). See Official Form 3.
 Statistical/Administrative Information                    (Estimates only)                                                               THIS SPACE IS FOR COURT USE ONLY

 ¨     Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ     Debtor estimates that, after any exempt property is excluded and administrative expenses are paid,
       there will be no funds available for distribution to unsecured creditors.
                                                    1-15           16-49       50-99         100-199     200-999       1000-Over
 Estimated Number of Creditors
                                                    ¨              þ            ¨              ¨            ¨              ¨
 Estimated Assets
   $0 to          $50,001 to       $100,001 to       $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000          $100,000         $500,000          $1 million       $10 million     $50 million   $100 million  $100 million
    þ                 ¨                ¨                   ¨               ¨             ¨                 ¨                ¨
 Estimated Debts
   $0 to          $50,001 to       $100,001 to       $500,001 to      1,000,001 to   $10,000,001 to $50,000,001 to More than
  $50,000          $100,000         $500,000          $1 million       $10 million     $50 million   $100 million  $100 million
    þ                 ¨                ¨                   ¨               ¨             ¨                 ¨                ¨
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2004 (Build 6.4.0.167, ID 3743567252)
             Case 05-61919-6-sdg                        Doc 1         Filed 03/22/05 Entered 03/22/05 14:30:06                                             Desc Main
(Official Form 1)(12/03)
                                                                     Document      Page 2 of 33                                                                     FORM B1, Page 2
 Voluntary Petition (page 2)                                                                 Name of Debtor(s):     Karen L. Hankey
 (This page must be completed and filed in every case)
                             Prior Bankruptcy Case(s) Filed Within Last 6 Years (If more than two, attach additional sheet)
 Location Where Filed:                                                                       Case Number:                                   Date Filed:
 None
 Location Where Filed:                                                                       Case Number:                                   Date Filed:


         Pending Bankruptcy Case(s) Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                             Case Number:                                   Date Filed:


 District:                                                                                   Relationship:                                  Judge:


                                                                                        Signatures
              Signature(s) of Debtor(s) (Individual/Joint)                                                                          Exhibit A
 I declare under penalty of perjury that the information provided in this petition is        (To be completed if debtor is required to file periodic reports (e.g., forms 10K and
 true and correct.                                                                           10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 [If petitioner is an individual whose debts are primarily consumer debts and has            of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under           ¨     Exhibit A is attached and made a part of this petition.
 each such chapter, and choose to proceed under chapter 7.
                                                                                                                                    Exhibit B
 I request relief in accordance with the chapter of title 11, United States Code,
                                                                                             (To be completed if debtor is an individual whose debts are primarily consumer
 specified in this petition.
                                                                                             debts) I, the attorney for the petitioner named in the foregoing petition, declare
                                                                                             that I have informed the petitioner named in the foregoing petition that [he or she]

 X       /s/ Karen L. Hankey
                                                                                             may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and
                                                                                             have explained the relief available under each such chapter.
        Karen L. Hankey

 X                                                                                           X     /s/ James S. Chatwin                                               03/22/2005
                                                                                                  James S. Chatwin                                                       Date
                                                                                                                                    Exhibit C
       Telephone Number (If not represented by an attorney)
                                                                                             Does the debtor own or have possession of any property that poses or is alleged to
       03/22/2005                                                                            pose a threat of imminent and identifiable harm to public health or safety?
       Date
                              Signature of Attorney                                            ¨     Yes, and Exhibit C is attached and made a part of this petition.
                                                                                               þ     No
 X       /s/ James S. Chatwin                                                                                Signature of Non-Attorney Petition Preparer
        James S. Chatwin                               Bar No. 508872                         I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                              that I prepared this document for compensation, and that I have provided the
                                                                                              debtor with a copy of this document.
 James S. Chatwin, Esq.
 327 West Fayette Street
 Suite 200
 Syracuse, NY 13202                                                                              Printed Name of Bankruptcy Petition Preparer

          (315) 478-0785
 Phone No.______________________        (315) 478-6691
                                 Fax No.______________________
                                                                                                 Social Security Number
       03/22/2005
       Date
                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of            Address
 the debtor.                                                                                  Names and Social Security numbers of all other individuals who prepared or
                                                                                              assisted in preparing this document:
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.

                                                                                              If more than one person prepared this document, attach additional sheets
                                                                                              conforming to the appropriate official form for each person.

 X
                                                                                             X
                                                                                                 Signature of Bankruptcy Petition Preparer
       Printed Name of Authorized Individual

                                                                                                 Date
       Title of Authorized Individual
                                                                                              A bankruptcy petition preparer's failure to comply with the provisions of title 11
       03/22/2005                                                                             and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              imprisonment or both (11 U.S.C. § 110; 18 U.S.C. § 156).
   Date
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2004 (Build 6.4.0.167, ID 3743567252)
     Case 05-61919-6-sdg          Doc 1    Filed 03/22/05 Entered 03/22/05 14:30:06                           Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF NEW YORK
                                            UTICA DIVISION
IN RE:   Karen L. Hankey                                            CASE NO

                                                                    CHAPTER                     7

                                       SCHEDULE A (REAL PROPERTY)


                                                                                                Current Market




                                                                         Husband, Wife, Joint
                                                                                                Value Of Debtor's
                                                      Nature Of




                                                                           Or Community
                                                                                                Interest In
Description And Location Of Property                  Debtor's
                                                                                                Property, Without    Amount Of
                                                      Interest In                                                   Secured Claim
                                                                                                Deducting Any
                                                      Property
                                                                                                Secured Claim Or
                                                                                                Exemption



None




                                                                                                           $0.00             $0.00
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                                           UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF NEW YORK
                                                     UTICA DIVISION
  IN RE: Karen L. Hankey                                                                  CASE NO

                                                                                          CHAPTER      7

                                          SCHEDULE B (PERSONAL PROPERTY)




                                                                                                                Husband, Wife, Joint
                                                                                                                                       Current Market
                                                                                                                                       Value of Debtor's




                                                                                                                  or Community
                                                                                                                                       Interest in
                                          None                                                                                         Property, Without
            Type of Property                                    Description and Location of Property                                   Deducting any
                                                                                                                                       Secured Claim or
                                                                                                                                       Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             M&T Checking account                                                 W                          $100.00
cial accounts, certificates of deposit,
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings               Assorted household goods                                             W                        $1,750.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Assorted clothing                                                    W                          $200.00


7. Furs and jewelry.                             wedding ring                                                         W                          $200.00


8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.



                                                                                                           Total >                             $2,250.00
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                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF NEW YORK
                                                      UTICA DIVISION
  IN RE: Karen L. Hankey                                                                  CASE NO

                                                                                          CHAPTER      7

                                           SCHEDULE B (PERSONAL PROPERTY)
                                                            Continuation Sheet No. 1




                                                                                                                Husband, Wife, Joint
                                                                                                                                       Current Market
                                                                                                                                       Value of Debtor's




                                                                                                                  or Community
                                                                                                                                       Interest in
                                           None                                                                                        Property, Without
            Type of Property                                    Description and Location of Property                                   Deducting any
                                                                                                                                       Secured Claim or
                                                                                                                                       Exemption


11. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Itemize.

12. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

13. Interests in partnerships or joint     X
ventures. Itemize.

14. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

15. Accounts receivable.                   X

16. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

17. Other liquidated debts owing                  2004 state income tax refund                                        W                          $915.00
debtor including tax refunds. Give
particulars.

18. Equitable or future interests, life    X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule of Real
Property.

19. Contingent and noncontingent         X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.




                                                                                                           Total >                             $3,165.00
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                                          UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF NEW YORK
                                                    UTICA DIVISION
  IN RE: Karen L. Hankey                                                               CASE NO

                                                                                       CHAPTER      7

                                         SCHEDULE B (PERSONAL PROPERTY)
                                                         Continuation Sheet No. 2




                                                                                                             Husband, Wife, Joint
                                                                                                                                    Current Market
                                                                                                                                    Value of Debtor's




                                                                                                               or Community
                                                                                                                                    Interest in
                                         None                                                                                       Property, Without
           Type of Property                                  Description and Location of Property                                   Deducting any
                                                                                                                                    Secured Claim or
                                                                                                                                    Exemption


20. Other contingent and unliqui-        X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

21. Patents, copyrights, and other       X
intellectual property. Give
particulars.

22. Licenses, franchises, and other      X
general intangibles. Give particulars.

23. Automobiles, trucks, trailers,       X
and other vehicles and accessories.

24. Boats, motors, and accessories.      X

25. Aircraft and accessories.            X

26. Office equipment, furnishings,       X
and supplies.

27. Machinery, fixtures, equipment,      X
and supplies used in business.

28. Inventory.                           X

29. Animals.                                    one cat/two dogs                                                   W                           $50.00


30. Crops - growing or harvested.        X
Give particulars.

31. Farming equipment and                X
implements.




                                                                                                        Total >                             $3,215.00
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                                       NORTHERN DISTRICT OF NEW YORK
                                                UTICA DIVISION
  IN RE: Karen L. Hankey                                                       CASE NO

                                                                               CHAPTER      7

                                     SCHEDULE B (PERSONAL PROPERTY)
                                                 Continuation Sheet No. 3




                                                                                                     Husband, Wife, Joint
                                                                                                                            Current Market
                                                                                                                            Value of Debtor's




                                                                                                       or Community
                                                                                                                            Interest in
                                     None                                                                                   Property, Without
           Type of Property                          Description and Location of Property                                   Deducting any
                                                                                                                            Secured Claim or
                                                                                                                            Exemption


32. Farm supplies, chemicals, and    X
feed.

33. Other personal property of any   X
kind not already listed. Itemize.




                                                                                                Total >                             $3,215.00
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                                            UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF NEW YORK
                                                      UTICA DIVISION
  IN RE: Karen L. Hankey                                                                        CASE NO

                                                                                               CHAPTER         7

                                 SCHEDULE C (PROPERTY CLAIMED AS EXEMPT)

Debtor elects the exemptions to which debtor is entitled under: (Check one box)

 ¨ 11 U.S.C. Sec. 522(b)(1):   Exemptions provided in 11 U.S.C. Sec. 522(d). Note: These exemptions are available only in certain states.

 þ 11 U.S.C. Sec. 522(b)(2):   Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's
                               domicile has been located for the 180 days immediately preceding the filing of the petition, or for a longer
                               portion of the 180-day period than in any other place, and the debtor's interest as a tenant by the entirety
                               or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.




                                                                                                                                    Current Market
                                                                                                                                    Value of Property
                                                            Specify Law Providing Each                   Value of Claimed
      Description of Property                                                                                                       Without Deducting
                                                            Exemption                                    Exemption
                                                                                                                                    Exemption



M&T Checking account                                    Debtor & Creditor Law § 283                                   $100.00                  $100.00

Assorted household goods                                CPLR § 5205(a)(5)                                           $1,750.00                 $1,750.00

Assorted clothing                                       CPLR § 5205(a)(5)                                             $200.00                  $200.00

wedding ring                                            CPLR § 5205(a)(6)                                             $200.00                  $200.00

2004 state income tax refund                            Debtor & Creditor Law § 283                                   $915.00                  $915.00

one cat/two dogs                                        CPLR § 5205(a)(4)                                               $50.00                  $50.00




                                                                                                                    $3,215.00                 $3,215.00
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 IN RE: Karen L. Hankey                                                                                        CASE NO
                               Debtor                                                                                             (If Known)
                                                                                                               CHAPTER     7
                               Joint Debtor

                              SCHEDULE D (CREDITORS HOLDING SECURED CLAIMS)

                          þ   Check this box if debtor has no creditors holding secured claims to report on Schedule D.




                                                           HUSBAND, WIFE, JOINT
                                                                                                                                       AMOUNT OF




                                                                                                                        UNLIQUIDATED
                                                                                  DATE CLAIM WAS INCURRED,




                                                                                                                         CONTINGENT
                                                             OR COMMUNITY
                                                CODEBTOR
                                                                                                                                       CLAIM




                                                                                                                          DISPUTED
                                                                                  NATURE OF LIEN, AND                                                  UNSECURED
CREDITOR'S NAME AND MAILING ADDRESS                                                                                                    WITHOUT
         INCLUDING ZIP CODE                                                       DESCRIPTION AND MARKET                                               PORTION, IF
                                                                                                                                       DEDUCTING
                                                                                  VALUE OF PROPERTY SUBJECT                                            ANY
                                                                                                                                       VALUE OF
                                                                                  TO LIEN
                                                                                                                                       COLLATERAL




                                                                                              Total for this Page (Subtotal) >                 $0.00           $0.00
________________continuation
       No                    sheets attached
                                                                                                             Running Total >                   $0.00           $0.00
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                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF NEW YORK
                                                           UTICA DIVISION
   IN RE: Karen L. Hankey                                                                              CASE NO

                                                                                                      CHAPTER          7

                   SCHEDULE E (CREDITORS HOLDING UNSECURED PRIORITY CLAIMS)


               þ Check this box if debtor has no creditors holding unsecured priority claims to report on Schedule E.

 TYPES OF PRIORITY CLAIMS                          (Check the appropriate box(es) if claims in that category are listed on the attached sheets)


¨    Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
     before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. Sec. 507(a)(2).

¨    Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum
     of $4,925* per employee, earned within 90 days immediately preceding the filing of the original petition, or the cessation of
     business, whichever occurred first, to the extent provided by 11 U.S.C. Sec. 507(a)(3).

¨    Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. Sec. 507(a)(4).


¨    Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as
     provided in 11 U.S.C. Sec. 507(a)(5).

¨    Deposits by individuals
     Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease or rental of property or services for
     personal, family, or household use, that were not delivered or provided. 11 U.S.C. Sec. 507(a)(6).


¨    Alimony, Maintenance, or Support
     Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11
     U.S.C. Sec. 507(a)(7).

¨    Taxes and certain other debts owed to governmental units
     Taxes, customs duties, and penalties owing to federal, state, and local government units as set forth in 11 U.S.C. Sec. 507(a)
     (8).

¨    Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or
     Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an
     insured depository institution. 11 U.S.C. Sec. 507(a)(9).

¨    Administrative allowances under 11 U.S.C. Sec. 330
     Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional
     person employed by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.




* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.




 ________________continuation
        No                    sheets attached
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 IN RE: Karen L. Hankey                                                                                             CASE NO
                              Debtor                                                                                                (If Known)
                                                                                                                    CHAPTER    7
                              Joint Debtor

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)

                  ¨ Check this box if debtor has no creditors holding unsecured nonpriority claims to report on Schedule F.




                                                                HUSBAND, WIFE, JOINT




                                                                                                                                              UNLIQUIDATED
                                                                                                                                               CONTINGENT
                                                                  OR COMMUNITY
                                                     CODEBTOR




                                                                                                                                                DISPUTED
                                                                                        DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                                         AMOUNT OF CLAIM
                                                                                        CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                                        IS SUBJECT TO SETOFF, SO STATE.



ACCT #: F22-2722                                                                       DATE INCURRED:   2004
                                                                                       CONSIDERATION:
Belgium Meadows                                                                        Medical Bill                                                                    $19.00
Po Box 2001                                                                            REMARKS:
                                                                 W                                                                                X
E. Syracuse, NY 13057



ACCT #: 5291-1517-5699-3133                                                            DATE INCURRED:   2004
                                                                                       CONSIDERATION:
Capital One                                                                            Credit Card                                                                  $1,003.86
Attn: Bankruptcy Unit                                                                  REMARKS:
                                                                 W                                                                                X
PO Box 85667
Richmond, VA 23285

ACCT #: 5291-1517-5699-3133                                                            DATE INCURRED:   2004
                                                                                       CONSIDERATION:
Capital One                                                                            Credit Card                                                               Notice Only
C/O NCO Financial Systems                                                              REMARKS:
                                                                 W                                                                                X
PO Box 8148
Philadelphia, PA 19101-8148

ACCT #: 2222751022138248                                                               DATE INCURRED:   2003
                                                                                       CONSIDERATION:
Capital One Bank/Chase Manhattan                                                       Credit Card                                                                  $2,246.00
PO Box 85522                                                                           REMARKS:
                                                                 W                                                                                X
Richmond, VA 23285



ACCT #: 5181-8900-0123-5641                                                            DATE INCURRED:   2001
                                                                                       CONSIDERATION:
Emerge/Providian                                                                       Credit Card                                                                  $2,967.00
PO Box 105655                                                                          REMARKS:
                                                                 W                                                                                X
Atlanta, GA 30348



ACCT #: 5181-8900-0365-4609                                                            DATE INCURRED:   2001
                                                                                       CONSIDERATION:
Emerge/Providian                                                                       Credit Card                                                               Notice Only
PO Box 105655                                                                          REMARKS:
                                                                 W                                                                                X
Atlanta, GA 30348



ACCT #: Index 04/6826                                                                  DATE INCURRED:   2004
                                                                                       CONSIDERATION:
Erin II, LLC/Providian                                                                 Credit Card                                                                  $1,974.60
C/O Eltman, Eltman & Cooper, PC                                                        REMARKS:
                                                                 W                                                                                X
90 William St.
New York, NY 10038-5043


                                                                                                           Total for this Page (Subtotal) >                          $8,210.46
________________continuation
       2                     sheets attached
                                                                                                                          Running Total >                            $8,210.46
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  IN RE: Karen L. Hankey                                                                                          CASE NO
                           Debtor                                                                                                 (If Known)
                                                                                                                  CHAPTER    7
                           Joint Debtor

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                                       Continuation Sheet No. 1




                                                             HUSBAND, WIFE, JOINT




                                                                                                                                            UNLIQUIDATED
                                                                                                                                             CONTINGENT
                                                               OR COMMUNITY
                                                  CODEBTOR




                                                                                                                                              DISPUTED
                                                                                     DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                                       AMOUNT OF CLAIM
                                                                                     CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                                     IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 5440-4500-6896-7458                                                         DATE INCURRED:   2003
                                                                                    CONSIDERATION:
Household/Orchard Bank                                                              Credit Card                                                                    $843.46
Bankcard Services                                                                   REMARKS:
                                                              W                                                                                 X
PO Box 19360
Portland, OR 97280-0360

ACCT #: 8502389699                                                                  DATE INCURRED:   2002
                                                                                    CONSIDERATION:
Household/Orchard Bank                                                              Credit Card                                                                Notice Only
C/O Midland Credit                                                                  REMARKS:
                                                              W                                                                                 X
5775 Roscoe Ct.
San Diego, CA 92123

ACCT #: Index 04/6826                                                               DATE INCURRED:   2004
                                                                                    CONSIDERATION:
Oswego County Sheriff's Dept.                                                       income execution for Erin II, LLC                                          Notice Only
Income Execution Unit                                                               REMARKS:
                                                              W                                                                                 X
39 Churchill Road
Oswego, NY 13126

ACCT #: 1050-27240                                                                  DATE INCURRED:   2004
                                                                                    CONSIDERATION:
Prospect Hill Emergency Care Physicians                                             Medical Bill                                                                     $32.59
C/O Simons Agency                                                                   REMARKS:
                                                              W                                                                                 X
2806 Court Street, Ste. 3
Syracuse, NY 13208

ACCT #: 301450594                                                                   DATE INCURRED:   2004
                                                                                    CONSIDERATION:
Prospect Hill Radiology Group                                                       Medical Bill                                                                     $25.00
4567 Crossroads Pk Dr.                                                              REMARKS:
                                                              W                                                                                 X
Liverpool, NY 13088-3590



ACCT #: 5181-8900-0123-5641                                                         DATE INCURRED:   2004
                                                                                    CONSIDERATION:
Sherman Acquisition, LLP                                                            Credit Card                                                                Notice Only
C/O M.R.S. Associates, Inc.                                                         REMARKS:
                                                              W                                                                                 X
3 Executive Campus, Suite 400
Cherry Hill, NJ 08002-4103

ACCT #: 5181-8900-0123-5641                                                         DATE INCURRED:   2004
                                                                                    CONSIDERATION:
Sherman Acquisition/Compucredit                                                     Credit Card                                                                Notice Only
C/O Northland Group                                                                 REMARKS:
                                                              W                                                                                 X
PO Box 390846
Edina, MN 55439-0846


                                                                                                         Total for this Page (Subtotal) >                           $901.05
                                                                                                                        Running Total >                            $9,111.51
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                              Debtor                                                                                                (If Known)
                                                                                                                    CHAPTER    7
                              Joint Debtor

                SCHEDULE F (CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS)
                                                                          Continuation Sheet No. 2




                                                                HUSBAND, WIFE, JOINT




                                                                                                                                              UNLIQUIDATED
                                                                                                                                               CONTINGENT
                                                                  OR COMMUNITY
                                                     CODEBTOR




                                                                                                                                                DISPUTED
                                                                                        DATE CLAIM WAS INCURRED AND
 CREDITOR'S NAME AND MAILING ADDRESS                                                                                                                         AMOUNT OF CLAIM
                                                                                        CONSIDERATION FOR CLAIM. IF CLAIM
         INCLUDING ZIP CODE
                                                                                        IS SUBJECT TO SETOFF, SO STATE.



ACCT #: 5181-8900-0365-4609                                                            DATE INCURRED:   2003
                                                                                       CONSIDERATION:
Sherman Acquisition/Compucredit                                                        Credit Card                                                               Notice Only
PO Box 740281                                                                          REMARKS:
                                                                 W                                                                                X
Houston, TX 77274



ACCT #: 3001450594                                                                     DATE INCURRED:   2005
                                                                                       CONSIDERATION:
St. Joseph's Hospital                                                                  Medical Bill                                                                  $516.96
Billing Dept.                                                                          REMARKS:
                                                                 W                                                                                X
301 Prospect Ave.
Syracuse, NY 13203

ACCT #: 3001124642                                                                     DATE INCURRED:   2003
                                                                                       CONSIDERATION:
St. Joseph's Hospital                                                                  Medical Bill                                                                  $101.57
C/O Kopp Collection Service                                                            REMARKS:
                                                                 W                                                                                X
PO Box 2367
513 E. Fayette St.
Syracuse, NY




                                                                                                           Total for this Page (Subtotal) >                           $618.53
                                                                                                                          Running Total >                            $9,730.04
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             SCHEDULE G (EXECUTORY CONTRACTS AND UNEXPIRED LEASES)

        þ Check this box if debtor has no executory contracts or unexpired leases.


                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                            INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
       NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
          OF OTHER PARTIES TO LEASE OR CONTRACT             CONTRACT.
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                                     SCHEDULE H (CODEBTORS)

        þ Check this box if debtor has no codebtors.


             NAME AND ADDRESS OF CODEBTOR                          NAME AND ADDRESS OF CREDITOR
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                          SCHEDULE I (CURRENT INCOME OF INDIVIDUAL DEBTOR(S))

     Debtor's Marital                              Dependents of Debtor and Spouse (Names, Ages and Relationships)
         Status                Name                        Age Relationship       Name                     Age Relationship
                              A. Cornelius                          15 daughter
         Married




   Employment                    Debtor                                                       Spouse
   Occupation                  Cashier
   Name of Employer            Dollar Tree
   How Long Employed           1 year
   Address of Employer         Rt. 31
                               Clay, NY 13031

Income: (Estimate of average monthly income)                                                                         DEBTOR                   SPOUSE
Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $557.09
Estimated monthly overtime                                                                                              $0.00
SUBTOTAL                                                                                                             $557.09
LESS PAYROLL DEDUCTIONS
   A. Payroll taxes (includes social security tax if B. is zero)                                                        $0.00
   B. Social Security Tax                                                                                              $42.73
   C. Insurance                                                                                                         $2.60
   D. Union dues                                                                                                        $0.00
   E. Retirement                                                                                                        $0.00
   F. Other (specify)                                                                                                   $0.00
   G. Other (specify)                                                                                                   $0.00
    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                     $45.33

TOTAL NET MONTHLY TAKE HOME PAY                                                                                      $511.76
Regular income from operation of business or profession or farm (attach detailed stmt)                                  $0.00
Income from real property                                                                                               $0.00
Interest and dividends                                                                                                  $0.00
Alimony, maintenance or support payments payable to debtor for the debtor's use or                                      $0.00
   that of the dependents listed above
Social Security or other government assistance (specify)                                                                $0.00
Pension or retirement income                                                                                            $0.00
Other monthly income (specify below)
    1. non-filing spouse monthly net income                                                                       $2,546.00
    2.                                                                                                                $0.00
    3.                                                                                                                $0.00

   TOTAL MONTHLY INCOME                                                                                           $3,057.76

TOTAL COMBINED MONTHLY INCOME $3,057.76                                                     (Report also on Summary of Schedules)

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
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                SCHEDULE J (CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S))

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. If box is checked, complete a separate
¨
    schedule of expenditures labeled "Spouse."


Rent or home mortgage payment (include lot rental for mobile home)                                                                           $1,012.00
Are real estate taxes included?        þ Yes       ¨ No
Is property insurance included?        þ Yes       ¨ No
Utilities: Electricity and heating fuel                                                                                                        $385.00
           Water and sewer
           Telephone                                                                                                                            $80.00
           Other: cable                                                                                                                        $140.00
Home maintenance (repairs and upkeep)                                                                                                           $50.00
Food                                                                                                                                           $450.00
Clothing                                                                                                                                       $100.00
Laundry and dry cleaning                                                                                                                        $30.00
Medical and dental expenses (not covered by insurance)                                                                                         $100.00
Transportation (not including car payments)                                                                                                    $300.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $99.00
Charitable contributions                                                                                                                        $10.00
Insurance (not deducted from wages or included in home mortgage payments)
         Homeowner's or renter's
         Life
         Health
         Auto                                                                                                                                  $172.00
         Other:
Taxes (not deducted from wages or included in home mortgage payments)
Specify:
Installment payments: (In Chapter 12 and 13 cases, do not list payments included in the plan)
           Auto
           Other:
           Other:
           Other:
Alimony, maintenance, and support paid to others
Payments for support of additional dependents not living at debtor's home
Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other: See attached personal expenses                                                                                                        $1,620.00
Other:

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                 $4,548.00

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular
interval.

A. Total projected monthly income
B. Total projected monthly expenses (including separate spouse budget if applicable)
C. Excess income (A minus B)
D. Total amount to be paid into plan each                             (interval)
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                                               EXHIBIT TO SCHEDULE J




                                                   Itemized Personal Expenses

Expense                                                                                                   Amount

salt/water softner                                                                                             $50.00
non-filing spouse meals on road                                                                            $300.00
non-filing spouse wash on the road                                                                             $30.00
pet food/vet bills                                                                                             $35.00
school supplies/lunches/activities                                                                             $35.00
non-filing spouse work supplies                                                                                $50.00
garbage service                                                                                                 $6.00
haircuts                                                                                                       $30.00
non-filing spouse work cell phone                                                                          $160.00
non-filing spouse household bank cc                                                                        $104.00
non-filing spouse two capital one cc                                                                           $70.00
non-filing spouse American General loan                                                                    $250.00
non-filing spouse Beneficial 2nd mortgag                                                                   $240.00
non-filing spouse truck loan                                                                               $260.00


                                                                                         Total >         $1,620.00
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                                               SUMMARY OF SCHEDULES




                                        ATTACHED NO. OF
NAME OF SCHEDULE                                                       ASSETS                  LIABILITIES         OTHER
                                        (YES/NO) SHEETS

A - Real Property                           Yes            1                        $0.00



B - Personal Property                       Yes            4                  $3,215.00



C - Property Claimed                        Yes            1
    as Exempt


D - Creditors Holding                       Yes            1                                             $0.00
    Secured Claims

E - Creditors Holding Unsecured
                                            Yes            1                                             $0.00
    Priority Claims


F - Creditors Holding Unsecured                            3                                          $9,730.04
                                            Yes
    Nonpriority Claims

G - Executory Contracts and
                                            Yes            1
   Unexpired Leases


H - Codebtors                               Yes            1


I - Current Income of
                                            Yes            1                                                         $3,057.76
    Individual Debtor(s)

J - Current Expenditures of
                                            Yes            2                                                         $4,548.00
   Individual Debtor(s)


                           Total Number of Sheets          16
                                 of ALL Schedules    >


                                                    Total Assets   >           $3,215.00


                                                                       Total Liabilities   >          $9,730.04
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                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                        DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       17
sheets, and that they are true and correct to the best of my knowledge, information, and belief.




Date 03/22/2005                                              Signature    /s/ Karen L. Hankey
                                                                         Karen L. Hankey


Date                                                         Signature


                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                              STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
              State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business
¨      from the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
       immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a
       calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state
       income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        AMOUNT                      SOURCE (if more than one)
        $586.00                     2005 Dollar Tree
        $7079.84                    2004 Dollar Tree
        $928.00                     2003 Dollar Tree

       2. Income other than from employment or operation of business
None
               State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
þ      during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each
       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)




       3. Payments to creditors
None
            a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor,
þ      made within 90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None
              b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are
þ      or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
              a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
¨      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                              COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING              AND LOCATION                    DISPOSITION
        Erin II, LLC                                   Debt Collection                   Fulton City Court               Judgement for Plaintiff
                -vs-                                                                     Oswego County                   for $1974.60 on 4/30/04
        Karen L. Hankey                                                                  NY State
        Index #04/6826

None
              b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                              STATEMENT OF FINANCIAL AFFAIRS
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       5. Repossessions, foreclosures and returns
None
              List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
þ      returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
       13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)




       6. Assignments and receiverships
None
               a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)




None
             b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None
              List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and
þ      usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than
       $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None
               List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None
             List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning
¨      debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYOR IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        James S. Chatwin, Esq.                                        03/03/2005                      $450.00
        327 West Fayette Street
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 2

        Suite 200
        Syracuse, NY 13202

       10. Other transfers
None
              List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)




       11. Closed financial accounts
None
             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
þ      otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial
       accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives,
       associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)




       12. Safe deposit boxes
None
              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
þ      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories
       of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None
               List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement
þ      of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None
             List all property owned by another person that the debtor holds or controls.
þ


       15. Prior address of debtor
None
              If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor
þ      occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of
       either spouse.
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                                               STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 3


       16. Spouses and Former Spouses
None
             If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
þ      Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the
       commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the
       community property state.




       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None          a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.




None         c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the
þ      debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 4


       18. Nature, location and name of business
None
              a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
þ      ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole
       proprietorship, or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the
       debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.

              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six
       years immediately preceding the commencement of this case.

              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
       ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six
       years immediately preceding the commencement of this case.




None
              b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. Section 101.
þ


       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within the six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
       owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
       proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
       within the six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years
       should go directly to the signature page.)

       19. Books, records and financial statements
None
             a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or
þ      supervised the keeping of books of account and records of the debtor.




None
            b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of
þ      account and records, or prepared a financial statement of the debtor.




None
             c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of
þ      the debtor. If any of the books of account and records are not available, explain.




None
             d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
þ      issued within the two years immediately preceding the commencement of this case by the debtor.
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                                                                  Continuation Sheet No. 5


       20. Inventories
None
             a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
þ      and the dollar amount and basis of each inventory.




None
             b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
þ


       21. Current Partners, Officers, Directors and Shareholders
None
             a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
þ


None
             b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
þ      controls, or holds 5 percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None
           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
þ      commencement of this case.




None
             b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
þ      preceding the commencement of this case.




       23. Withdrawals from a partnership or distributions by a corporation
None
              If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any
þ      form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of
       this case.




       24. Tax Consolidation Group
None
              If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group
þ      for tax purposes of which the debtor has been a member at any time within the six-year period immediately preceding the commencement of the
       case.
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                                                               Continuation Sheet No. 6


       25. Pension Funds
None
            If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
þ      employer, has been responsible for contributing at any time within the six-year period immediately preceding the commencement of the case.




                       DECLARATION CONCERNING DEBTOR'S STATEMENT OF FINANCIAL AFFAIRS


     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto, consisting of         7                   sheets, and that they are true and correct.


Date 03/22/2005                                                      Signature            /s/ Karen L. Hankey
                                                                     of Debtor            Karen L. Hankey


Date 03/22/2005                                                      Signature
                                                                     of Joint Debtor
                                                                     (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
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                     CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION


1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

a. Property to Be Surrendered.

                   DESCRIPTION OF PROPERTY                                                          CREDITOR'S NAME

 None



b. Property to Be Retained.        (Check any applicable statement).

                                                                               Lien will be      Property is                  Debtor will
                                                                               avoided           claimed as                   continue
                                                                               pursuant to       exempt and                   making
                                                                               Sec. 522(f)       will be       Debt will be   payments to
 DESCRIPTION OF PROPERTY                   CREDITOR'S NAME                     and property      redeemed      reaffirmed     creditor
                                                                               will be claimed   pursuant to   pursuant to    without
                                                                               as exempt         Sec. 722      Sec. 524(c)    reaffirming

 None




Date 03/22/2005                                                  Signature    /s/ Karen L. Hankey
                                                                             Karen L. Hankey




Date                                                             Signature
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                                      NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)
        The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
        bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an
        attorney to learn your rights and responsibilities under the law should you decide to file a petition with the court. Court
        employees are prohibited from giving you legal advice.


Chapter 7: Liquidation ($209.00 filing fee)
1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

2. In a Chapter 7 case, a trustee secures for the bankruptcy estate all your assets which the trustee may obtain under the applicable provisions of
the Bankruptcy Code. You may claim certain of your property exempt under governing law. The trustee may then liquidate the non-exempt property
as necessary and uses the proceeds to pay your creditors according to priorities of the Bankruptcy Code.

3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain
kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the purpose for which you filed the
bankruptcy petition will be defeated.

4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be responsible for such
debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or personal injury caused by
driving while intoxicated from alcohol or drugs.

5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your attorney can explain the
options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($194.00 filing fee)
1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay them in installments
over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy Code.

2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using your future
earnings. Usually, the period of time allowed by the court to repay your debts is three years, but no more than five years. Your plan must be
approved by the court before it can take effect.

3. Under Chapter 13, unlike Chapter 7, you may keep all of your property, both exempt and non-exempt, as long as you continue to make payments
under the plan.

4. After completion of payments under your plan your debts are discharged except alimony and support payments, student loans, certain debts
including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs, and long-
term secured obligations.


Chapter 11: Reorganization ($800.00 filing fee)
Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated,
and any decision by an individual to file a Chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer ($200.00 filing fee)
Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways similar to
Chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm.


                                                                ACKNOWLEDGEMENT

                                                       22nd
 I hereby certify that I have read this notice on this________________day     March
                                                                          of__________________________________,   2005
                                                                                                                _______.

 /s/ Karen L. Hankey
Karen L. Hankey
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            DISCLOSURE OF COMPENSATION UNDER 11 U.S.C. § 329 AND B.R. 2016(B)


                                                 Amount paid:                  $450.00
                                           Amount to be paid:
                            Property transferred to attorney:      None
                                   Collateral held by attorney:    None
                                    Source of compensation: Current wages


   I certify that I am the attorney for the above named debtor, and that the compensation paid or agreed to be paid to me for
services rendered or to be rendered on behalf of the Debtor in or in connections with a case under Title 11 of the United States
Code, such payment or agreement having been made after one year before the date of filing of the petition, is as indicated above.

   I further certify that the Debtor has been informed and has agreed that the compensation paid shall include the following legal
services: (a) All conferences with the Debtor; (b) Preparation of Petition and Schedules; (c) Attendance at 341 First Meeting and
attendance at reaffirmation and/or confirmation hearings.

   I have not agreed to share this compensation with any person other than members of the firm.


Date 03/22/2005




 /s/ James S. Chatwin
James S. Chatwin                         Bar No. 508872
James S. Chatwin, Esq.
327 West Fayette Street
Suite 200
Syracuse, NY 13202
Phone: (315) 478-0785 / Fax: (315) 478-6691
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                                     VERIFICATION OF CREDITOR MATRIX


     The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.



Date 03/22/2005                                          Signature    /s/ Karen L. Hankey
                                                                     Karen L. Hankey



Date                                                     Signature
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                         Belgium Meadows
                         Po Box 2001
                         E. Syracuse, NY 13057



                         Capital One
                         Attn: Bankruptcy Unit
                         PO Box 85667
                         Richmond, VA 23285


                         Capital One
                         C/O NCO Financial Systems
                         PO Box 8148
                         Philadelphia, PA 19101-8148


                         Capital One Bank/Chase Manhattan
                         PO Box 85522
                         Richmond, VA 23285



                         Emerge/Providian
                         PO Box 105655
                         Atlanta, GA 30348



                         Erin II, LLC/Providian
                         C/O Eltman, Eltman & Cooper, PC
                         90 William St.
                         New York, NY 10038-5043


                         Household/Orchard Bank
                         Bankcard Services
                         PO Box 19360
                         Portland, OR 97280-0360


                         Household/Orchard Bank
                         C/O Midland Credit
                         5775 Roscoe Ct.
                         San Diego, CA 92123


                         Oswego County Sheriff's Dept.
                         Income Execution Unit
                         39 Churchill Road
                         Oswego, NY 13126
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                         Prospect Hill Emergency Care Physicians
                         C/O Simons Agency
                         2806 Court Street, Ste. 3
                         Syracuse, NY 13208


                         Prospect Hill Radiology Group
                         4567 Crossroads Pk Dr.
                         Liverpool, NY 13088-3590



                         Sherman Acquisition, LLP
                         C/O M.R.S. Associates, Inc.
                         3 Executive Campus, Suite 400
                         Cherry Hill, NJ 08002-4103


                         Sherman Acquisition/Compucredit
                         C/O Northland Group
                         PO Box 390846
                         Edina, MN 55439-0846


                         Sherman Acquisition/Compucredit
                         PO Box 740281
                         Houston, TX 77274



                         St. Joseph's Hospital
                         Billing Dept.
                         301 Prospect Ave.
                         Syracuse, NY 13203


                         St. Joseph's Hospital
                         C/O Kopp Collection Service
                         PO Box 2367
                         513 E. Fayette St.
                         Syracuse, NY
